Case 3:19-bk-30822        Doc 172 Filed 02/13/20 Entered 02/14/20 00:19:40                       Desc
                         Imaged Certificate of Notice Page 1 of 3
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 This document has been electronically entered in the records of the United
                                      
 States Bankruptcy Court for the Southern  District of Ohio.
                                            
                                            
  IT IS SO ORDERED.                         
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                                            
                                            
 Dated: February 11, 2020                   
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                                            
                                            
                            UNITEDSTATESBANKRUPTCYCOURT
                           FORTHESOUTHERNDISTRICTOFOHIO
                              WESTERNDIVISIONATDAYTON
 
                                          
 Inre: TAGNETICSINC.,                     
                                             CaseNo. 19Ǧ30822
                                          
                                             JudgeHumphrey
                                              Chapter7
                                              
                                              
 
     OrderGrantingPetitioningCreditors’MotionforContempt(Doc.145),Determining
     AdditionalInterestasaRemedytoEnforceCompliance,andOrderingOtherMatters
       
       In accordance with the court’s concurrently filed Decision Granting Petitioning
 Creditors’MotionforContempt(Doc.145)andDeterminingAdditionalInterestasaRemedy
 to Enforce Compliance, the Petitioning Creditors’ Motion to Hold Tagnetics in Indirect
 Contempt(doc.145)isgranted.
 
       Accordingly,ITISORDEREDthatTagneticsInc.shallpaytothePetitioningCreditors
 compensatorydamagesasfollows:
 
     1. Tagnetics shall, within 30 days of the entry of this order, pay to each Petitioning
        CreditortheamountspastdueundertheOrderGrantinginPartTagnetics’Motionto
        Enforce Settlement Agreement (doc. 119) (the “Settlement Enforcement Order”)
        ($30,000 to each Creditor), plus the interest that has accrued, starting 3 business


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 


         daysaftertheSettlementEnforcementOrderwasentered,attheFederalJudgment
         Interestrateprovidedunder28U.S.C.§1961.

     2. Totheextentthatallsumsdueinparagraph1arenottimelypaid,additionalinterest
        attherateof5%perannum,simpleinterest,compoundedmonthly,shallcommence
        onthe31stdayfollowingtheentryofthisorderandshallcontinueuntilallpastdue
        sumsarepaid.

     3. InterestshallaccrueonallfuturesumsdueundertheSettlementEnforcementOrder,
        from the time those sums first become due, at the Federal Judgment Interest rate
        provided under 28 U.S.C. § 1961, plus 5% per annum, simple interest, compounded
        monthly,untilsuchsumsarepaidinfull.

     4. Intheeventthatastaypendingappealisissued,theadditional5%interestshallnot
         be due or accumulate from the time the stay first becomes effective until the stay
         terminates.
         
 Totheextentthatthereareanydifferencesbetweenthecourt’sdecisionandthisorder,any
 suchdifferencesareinadvertentandthisordershallconstitutethedecisionofthecourtand
 shallgovern.
 
        ITISSOORDERED.
 
 Copiesto:AllCreditorsandPartiesinInterest,Plus
 
 DouglasS.Draper,650PoydrasStreet,Suite2500,NewOrleans,Louisiana70130
 LeslieA.Collins,650PoydrasStreet,Suite2500,NewOrleans,Louisiana70130




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                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 19-30822-grh
Tagnetics Inc.                                                                                             Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0648-3                  User: chipmanm                     Page 1 of 1                          Date Rcvd: Feb 11, 2020
                                      Form ID: pdf01                     Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 13, 2020.
db              Tagnetics Inc.,    3415 RT 36,    Piqua, OH 45356
aty            +Stephen B. Stern,    238 West Street,    Annapolis, MD 21401-3424
               +Douglas Draper,    Leslie Collins,    650 Poydras Street,   Suite 2500,
                 New Orleans, LA 70130-6175
ptcrd          +Jonathan Hager,    842 Paint Bank Road,    Salem, VA 24153-9242
ptcrd          +Kayser Ventures Ltd,    1872 Pratt Dr,    Ste 1800,   Blacksburg, VA 24060-6323
ptcrd          +Kenneth W Kayser,    PO Box 115,    Catawba, VA 24070-0115
cr             +Piqua Troy Investments, LLC,     1710 Commerce Drive,   P,   Piqua, OH 45356-2602
ptcrd          +Robert Strain,    427 Artell St,    Marcengo, IL 60152-3205
ptcrd          +Ronald E. Earley,    6429 Winding Tree Dr,    New Carlisle, OH 45344-9168
ptcrd          +S-Tek Inc.,    1100 Wayne St,    Suite 5000,   Troy, OH 45373-3071

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 13, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 11, 2020 at the address(es) listed below:
              Asst US Trustee (Day)    USTPRegion09.CB.ECF@usdoj.gov
              Bryan K Stewart   on behalf of Creditor    Piqua Troy Investments, LLC bryan@stewartlawyers.com,
               chad@stewartlawyers.com
              Christopher L Wesner   on behalf of Petitioning Creditor    S-Tek Inc. chriswesnerlaw@gmail.com,
               ecf.cwlo@gmail.com;rtanner@millerluring.com
              Christopher L Wesner   on behalf of Petitioning Creditor    Kayser Ventures Ltd
               chriswesnerlaw@gmail.com, ecf.cwlo@gmail.com;rtanner@millerluring.com
              Jeremy Shane Flannery    on behalf of U.S. Trustee   Asst US Trustee (Day)
               Jeremy.S.Flannery@usdoj.gov
              Robert R Kracht   on behalf of Debtor    Tagnetics Inc. rrk@mccarthylebit.com
                                                                                              TOTAL: 6
